 1   Stephen A. Swedlow (admitted pro hac vice)      Warren Postman (Bar No. 330869)
       stephenswedlow@quinnemanuel.com                 wdp@kellerlenkner.com
 2   QUINN EMANUEL URQUHART & SULLIVAN, LLP          Jason Ethridge (admitted pro hac vice)
     191 N. Wacker Drive, Suite 2700                   jason.ethridge@kellerlenkner.com
 3   Chicago, IL 60606-1881                          KELLER LENKNER LLC
     (312) 705-7400                                  1300 I Street, N.W., Suite 400E
 4                                                   Washington, DC 20005
     Kevin Y. Teruya (Bar No. 235916)                (202) 918-1123
 5     kevinteruya@quinnemanuel.com
     Adam B. Wolfson (Bar No. 262125)                Ashley Keller (admitted pro hac vice)
 6     adamwolfson@quinnemanuel.com                    ack@kellerlenkner.com
     Brantley I. Pepperman (Bar No. 322057)          Benjamin Whiting (admitted pro hac
 7     brantleypepperman@quinnemanuel.com            vice)
     QUINN EMANUEL URQUHART & SULLIVAN, LLP            ben.whiting@kellerlenkner.com
 8   865 South Figueroa Street, 10th Floor           Jason A. Zweig (admitted pro hac vice)
     Los Angeles, CA 90017-2543                        jaz@kellerlenkner.com
 9   (213) 443-3000                                  KELLER LENKNER LLC
                                                     150 N. Riverside Plaza, Suite 4270
10   Attorneys for the Klein Plaintiffs              Chicago, IL 60606
                                                     (312) 741-5220
11

12                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
13                                    SAN JOSE DIVISION
14 MAXIMILIAN KLEIN and SARAH                     Case No. 5:20-cv-08570-LHK
15 GRABERT, individually and on behalf of all
   others similarly situated,                     Hon. Lucy H. Koh
16                                                Hearing Date: March 18, 2021
                  Plaintiffs,
17
                                                  KLEIN PLAINTIFFS’ RESPONSE TO
           vs.                                    COMPETING    APPLICATION   FOR
18
                                                  APPOINTMENT AS INTERIM CO-LEAD
19 FACEBOOK, INC., a Delaware corporation         USER CLASS COUNSEL
   headquartered in California,
20
                 Defendant.
21

22

23

24

25

26

27

28

                                                                    Case No. 5:20-cv-08570-LHK
                      QUINN EMANUEL AND KELLER LENKNER RESPONSE TO COMPETING APPLICATION
 1                                                      TABLE OF CONTENTS
                                                                                                                                          Page
 2

 3 PRELIMINARY STATEMENT ........................................................................................................1

 4 ARGUMENT .....................................................................................................................................2

 5 I.            QUINN EMANUEL AND KELLER LENKNER IDENTIFIED, INVESTIGATED,
                 AND DEVELOPED THE USER CLASS’S CLAIMS..........................................................2
 6
      II.        QUINN EMANUEL AND KELLER LENKNER OFFER THE USER CLASS
 7               UNIQUE ANTITRUST KNOWLEDGE AND EXPERIENCE. ...........................................5

 8 III.          APPOINTING QUINN EMANUEL AND KELLER LENKNER WILL FURTHER
                 THE STRONG PUBLIC POLICY UNDERPINNING PRIVATE ENFORCEMENT
 9               OF THE ANTITRUST LAWS. .............................................................................................5

10 IV.           KUPCHO COUNSEL’S INSINUATIONS AGAINST QUINN EMANUEL DO
                 NOT IDENTIFY ANY INADEQUACIES AND DEMONSTRATE THAT
11               KUPCHO COUNSEL DOES NOT UNDERSTAND THE CASE THEY COPIED. ...........7

12 CONCLUSION ..................................................................................................................................9

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                        -i-                   Case No. 5:20-cv-08570-LHK
                                QUINN EMANUEL AND KELLER LENKNER RESPONSE TO COMPETING APPLICATION
 1                                                    TABLE OF AUTHORITIES
 2                                                                                                                                       Page
 3                                                                     Cases

 4 Alaska Elec. Pension Fund v. Bank of Am. Corp.,
      No. 14-cv-7126-JMF, 2018 WL 6250657 (S.D.N.Y. Nov. 29, 2018) ......................................... 7
 5 Carlin v. DairyAmerica, Inc.,
      No. 09-cv-0430-AWI, 2009 WL 1518058 (E.D. Cal. May 29, 2009) ......................................... 4
 6

 7 In re Cendant Corp. Sec. Litig.,
      404 F.3d 173 (3d Cir. 2005) ......................................................................................................... 6
 8 Chacanaca v. Quaker Oats Co.,
      No. 10-cv-0502-RS, 2011 WL 13141425 (N.D. Cal. June 14, 2011) .......................................... 3
 9

10 Hawaii  v. Standard Oil Co. of Cal.,
      405 U.S. 251 (1972) ..................................................................................................................... 6
11 In re: Credit Default Swaps Antitrust Litig.,
      13-md-2476-DLC (April 15, 2016) .............................................................................................. 7
12

13 In re Facebook Inc., IPO Sec. & Derivative Litig.,
      288 F.R.D. 26 (S.D.N.Y. 2012).................................................................................................... 3
14 In re GSE Bonds Antitrust Litig.,
      377 F. Supp. 3d 437 (S.D.N.Y. 2019) .......................................................................................... 2
15

16 In re MF Global Holdings, Ltd.,
      464 B.R. 619 (Bankr. S.D.N.Y. 2012) ......................................................................................... 6
17 In re NASDAQ Mkt.-Makers Antitrust Litig.,
      187 F.R.D. 465 (S.D.N.Y. 1998).................................................................................................. 6
18

19 In re iPhone 4S Consumer Litig.,
      No. 12-cv-01127-CW, 2012 WL 12960637 (N.D. Cal. July 5, 2012) ..................................... 3, 6
20 In re Seagate Tech. LLC Litig.,
      No. 16-cv-00523-RMW, 2016 WL 3401989 (N.D. Cal. June 21, 2016) ..................................... 2
21

22 In re Yahoo! Inc. Customer Data Security Breach Litig.,
      No. 5:16-md-02752-LHK (N.D. Cal. Dec. 3, 2016) .................................................................... 3
23 Levitte v. Google, Inc.,
      No. 08-cv-03369-JW, 2009 WL 482252 (N.D. Cal. Feb. 25, 2009) ............................................ 2
24

25 Michelle v. Arctic Zero, Inc.,
     No. 3:12-cv-02063-GPC, 2013 WL 791145 (S.D. Cal. Mar. 1, 2013) ........................................ 3
26 United States v. Topco Assocs., Inc.,
     405 U.S. 596 (1972) ..................................................................................................................... 6
27

28

                                                        -ii-                  Case No. 5:20-cv-08570-LHK
                                QUINN EMANUEL AND KELLER LENKNER RESPONSE TO COMPETING APPLICATION
 1                                                       Rules and Regulations
 2 Fed. R. Civ. P. 23(g)(1)(A) ........................................................................................................... 1, 2

 3 Fed. R. Civ. P. 23(g)(1)(A)(i)............................................................................................................ 4

 4
                                                         Additional Authorities
 5 1 Newberg on Class Actions, § 3.75 (5th ed.) ................................................................................... 7

 6 5 Moore’s Federal Practice, § 23.120[3][a] (Matthew Bender 3d Ed.) ........................................... 3

 7 Bruce H. Kobayashi and Larry E. Ribstein, “Class Action Lawyers as Lawmakers”,
      46 Ariz. L. Rev. 733 (2004) ......................................................................................................... 6
 8

 9 Charles Silver, “Class-Actions-Representative Proceedings”,
      5 Encyclopedia of Law and Economics, 194 (2000) .................................................................... 6
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                       -iii-                 Case No. 5:20-cv-08570-LHK
                               QUINN EMANUEL AND KELLER LENKNER RESPONSE TO COMPETING APPLICATION
 1                                    PRELIMINARY STATEMENT
 2          Quinn Emanuel’s and Keller Lenkner’s application detailed their multi-year investigation in

 3 this case. See Klein, Dkt. 55 (“Mot.”) at 4–7. It detailed how they consulted extensively with leading

 4 industry and economic experts; how they carefully thought through the issues in the case, pressure-

 5 testing various market definitions, theories of anticompetitive conduct, antitrust injury, damages,

 6 and causes of action; and how they crafted a detailed, well-sourced complaint that was filed before

 7 any other related litigation, private or public. Id. Quinn Emanuel and Keller Lenkner also detailed

 8 how they possess unparalleled resources, have a stellar record of success, offer a diverse team with

 9 varied perspectives, and have committed to moving this case forward as quickly and efficiently as

10 possible. Id. at 7–25.

11          Reflecting the lead role that Quinn Emanuel and Keller Lenkner have already taken in

12 advancing the interests of the User Class, two other firms have agreed that Quinn Emanuel and

13 Keller Lenkner are best positioned to serve as lead counsel for the User Class. Klein, Dkts. 56, 57.

14 Only one competing application has been filed to represent the User Class. Klein, Dkt. 59.

15 Tellingly, that application fails to contain a single line addressing the first Rule 23(g)(1)(A) factor:

16 “the work counsel has done in identifying or investigating potential claims in the action.” That

17 application does not even suggest that Kupcho counsel did any investigation of the claims and issues

18 in this case before Quinn Emanuel and Keller Lenkner filed Klein. Nor does it proffer any evidence

19 that Kupcho counsel conducted its own investigation or original analysis even after Klein was filed.

20 The reality is that Kupcho counsel essentially copied over 60 pages from the Klein complaint,

21 verbatim, including custom hyperlinks from Quinn Emanuel’s and Keller Lenkner’s factual

22 investigation. See, e.g., Kupcho, Dkt. 1 at ¶ 60 n.31 (citing decision of German Federal Cartel Office

23 and copying the custom hyperlink hosted at https://kl.link/39AxErE).

24          Given the strength of Quinn Emanuel’s and Keller Lenkner’s application regarding each and

25 every one of the Rule 23(g)(1)(A) factors, we respectfully submit that the Court should appoint the

26 counsel that, without dispute, have put the most time, thought, and initiative into developing and

27 advancing this case. This result best serves the interests of the User Class. And, it furthers an

28 important public policy: preserving the incentive for firms to investigate and file private antitrust

                                               -1-                   Case No. 5:20-cv-08570-LHK
                       QUINN EMANUEL AND KELLER LENKNER RESPONSE TO COMPETING APPLICATION
 1 cases of public importance like this one. Quinn Emanuel and Keller Lenkner have already

 2 demonstrated investment and initiative into developing the case and its theories, which will translate

 3 into initiative and investment in zealously representing the User Class.             The deep issue

 4 understanding that Quinn Emanuel and Keller Lenkner have demonstrated thus far should result in

 5 our firms’ effective and efficient prosecution of the User Class’s claims.

 6                                             ARGUMENT
 7          Rule 23(g)(1)(A) enumerates the criteria that govern the Court’s appointment of class

 8 counsel: (i) the work counsel has done in identifying or investigating potential claims in the action;

 9 (ii) counsel’s experience in handling class actions, other complex litigation, and the types of claims

10 asserted in the action; (iii) counsel’s knowledge of the applicable law; and (iv) the resources that

11 counsel will commit to representing the class. Levitte v. Google, Inc., No. 08-cv-03369-JW, 2009

12 WL 482252, at *2 (N.D. Cal. Feb. 25, 2009). The Court “may also consider ‘any other matter

13 pertinent to counsel’s ability to fairly and adequately represent the interests of the class.’” In re

14 Seagate Tech. LLC Litig., No. 16-cv-00523-RMW, 2016 WL 3401989, at *2 (N.D. Cal. June 21,

15 2016). As laid out in the Klein Plaintiffs’ application, each and every one of the pertinent factors

16 favors the appointment of Mr. Swedlow and Mr. Postman as Interim Co-Lead User Class Counsel.

17 I.       QUINN EMANUEL AND KELLER LENKNER IDENTIFIED, INVESTIGATED,
18          AND DEVELOPED THE USER CLASS’S CLAIMS.
19          Where multiple firms bring significant experience, knowledge, and resources to the table in

20 seeking to lead a putative class, it best serves the putative class to appoint the firms that first

21 developed and filed the claims at issue. See In re GSE Bonds Antitrust Litig., 377 F. Supp. 3d 437,

22 438 (S.D.N.Y. 2019) (determining that Rule 23(g) favored appointment of firms as interim co-lead

23 class counsel because firms “represent[ed] the plaintiffs who filed the first . . . actions,” “did

24 substantial investigative work and invested significant resources,” and firms’ complaint “is clearly

25 the template for the great majority of the cases filed[.]”). That is because the counsel who first

26 develop a case have demonstrated important qualities that will benefit the class. The counsel that

27 thoroughly investigate a case and are the first to file it have shown greater creativity and initiative

28 than counsel who merely file a “copycat” complaint, and those qualities will serve the class

                                               -2-                   Case No. 5:20-cv-08570-LHK
                       QUINN EMANUEL AND KELLER LENKNER RESPONSE TO COMPETING APPLICATION
 1 throughout the litigation of the case. And, the counsel that most thoroughly investigate and develop

 2 a case are also likely to have a deeper understanding of the relevant factual and legal issues, which

 3 makes them better positioned to effectively move the case forward. Cf. In re Yahoo! Inc. Customer

 4 Data Security Breach Litig., No. 5:16-md-02752-LHK (N.D. Cal. Dec. 3, 2016) (Koh, J.), Dkt. 2 at

 5 3 (noting counsel’s “[w]illingness and ability to commit to a time-consuming process” among the

 6 “chief criteria” governing the selection of interim class counsel). In short, “if an attorney has

 7 performed the investigatory and analytical tasks necessary to draft the complaint, . . . ‘he or she is

 8 in a better position to represent the class fairly and adequately than attorneys who have not

 9 undertaken those tasks.’” In re iPhone 4S Consumer Litig., No. 12-cv-01127-CW, 2012 WL

10 12960637, at *1 (N.D. Cal. July 5, 2012) (quoting 5 Moore’s Federal Practice, § 23.120[3][a]

11 (Matthew Bender 3d Ed.)); see also Michelle v. Arctic Zero, Inc., No. 3:12-cv-02063-GPC, 2013

12 WL 791145, at * 3 (S.D. Cal. Mar. 1, 2013) (selecting counsel who “demonstrated they have

13 conducted more research and investigation in developing the case.”); In re Facebook Inc., IPO Sec.

14 & Derivative Litig., 288 F.R.D. 26, 44 (S.D.N.Y. 2012) (appointing firm that “already devoted

15 substantial time and resources . . . in identifying and investigating the claims set forth in the

16 complaint”); Chacanaca v. Quaker Oats Co., No. 10-cv-0502-RS, 2011 WL 13141425, at *3 (N.D.

17 Cal. June 14, 2011) (“[I]t makes sense for the Weston firm, and its co-counsel the Marron firm, to

18 continue as counsel in a case that appears to be essentially the product of their work and design, and

19 they therefore will be appointed as interim class counsel.”).

20          In a case of this importance, the User Class deserves counsel who are able to hit the ground

21 running and use their deep understanding of the issues to push the case forward skillfully and

22 efficiently. This is not a case in which lead counsel can just learn the issues on the job. Quinn

23 Emanuel and Keller Lenkner developed the User Class’s claims after conducting an exhaustive

24 factual and legal investigation which first began in 2019. See Mot. at 4–7. Because of our extensive

25 investigation, which resulted in the first-of-its-kind Klein complaint, our firms have an intimate

26 understanding of the key factual, legal, and technical issues at play, including: defining the relevant

27 markets, the nature of Facebook’s anticompetitive conduct, viable theories of antitrust injury, how

28 to model damages, and countless other important issues and nuances. Indeed, although public

                                               -3-                   Case No. 5:20-cv-08570-LHK
                       QUINN EMANUEL AND KELLER LENKNER RESPONSE TO COMPETING APPLICATION
 1 sources and government investigations—such as that of the House Subcommittee on Antitrust,

 2 Commercial and Administrative Law—had previously suggested that Facebook’s serial acquisitions

 3 may have given Facebook monopoly power, Quinn Emanuel and Keller Lenkner identified a distinct

 4 and critical dimension of Facebook’s anticompetitive scheme. As detailed in the Klein complaint,

 5 Facebook’s systematic deception of consumers regarding the amount of data Facebook collected

 6 and shared allowed Facebook to: (a) win the race to dominate the Social Network and Social Media

 7 Markets; and (b) surveil users in order to enable and reinforce Facebook’s anticompetitive

 8 acquisition strategy. See, e.g., Klein, Dkt. 1, ¶¶ 91–125, 144–53. This theory—which forms one of

 9 the two main pillars of this case—was a significant advancement beyond any prior government

10 investigation, can be traced directly to the Klein complaint, and was copied verbatim by Kupcho

11 counsel. Compare Kupcho, Dkt. 1, ¶¶ 92–126, 145–54.

12          By contrast, and despite trumpeting the critical importance of their own investigative efforts

13 in connection with the appointment of lead counsel in other cases,1 Kupcho counsel tellingly did

14 not even attempt to address Rule 23(g)(1)(A)(i) here.2 Nor could they, since the Kupcho complaint

15 wholesale copies more than 60 pages of the Klein complaint. See Carlin v. DairyAmerica, Inc., No.

16 09-cv-0430-AWI, 2009 WL 1518058, at *2 (E.D. Cal. May 29, 2009) (declining to appoint Hagens

17 Berman as lead counsel and rejecting its arguments regarding its purported pre-filing investigation

18 work since “Cohen Milstein has done a majority of the preparation work leading to the filing of

19 these actions, . . . a simple comparison of the original complaint in this action with the two filed by

20 Hagens Berman reveals that they are almost identical.”).           The failure of Kupcho counsel’s

21

22
            1
               See, e.g., Fremgen et al v. Amazon.com, Inc, et al., No. 1:21-cv-00351-GHW (S.D.N.Y.),
23
   Dkt. 35 at 1–2, 5 (arguing that Hagens Berman should be appointed lead counsel because it filed the
24 first case, conducted a “thorough pre-filing investigation of the alleged antitrust violations,” and
   “[t]he later-filed actions are derivative of (and often incorporate verbatim) the allegations in” their
25 first-filed complaint).
            2
26             Should Kupcho counsel attempt to raise, for the first time, their purported investigative
   efforts in any responsive filings, any such contention is belied by the fact that the Kupcho complaint
27 cuts and pastes over 60 pages from the Klein complaint. And, to the extent that Kupcho counsel did
   do any work whatsoever beyond cutting and pasting, such efforts could and should have been
28 described in their application so that other parties could respond.

                                               -4-                   Case No. 5:20-cv-08570-LHK
                       QUINN EMANUEL AND KELLER LENKNER RESPONSE TO COMPETING APPLICATION
 1 application to provide any objective evidence of their independent investigation or thought should

 2 end the analysis.

 3 II.      QUINN EMANUEL AND KELLER LENKNER OFFER THE USER CLASS
 4          UNIQUE ANTITRUST KNOWLEDGE AND EXPERIENCE.
 5          As described in Quinn Emanuel’s and Keller’s Lenkner’s application, see Mot. at 7–17, this

 6 litigation sits squarely in our firms’ wheelhouses. Our firms have collectively recovered billions of

 7 dollars on behalf of antitrust plaintiffs in private, class-action, and opt-out cases and arbitrations.

 8 Beyond our other qualifications, as well as our development of the theories of liability and damages

 9 against Facebook in this case, we offer the User Class a critical tool: unique experience and expertise

10 in litigating these types of issues directly against Facebook.

11          In Social Ranger, LLC v. Facebook, Inc., C.A. No. 14-1525-LPS (D. Del.), Quinn Emanuel

12 (including Mr. Teruya, an attorney in this case), with other co-counsel, brought against Facebook

13 an antitrust case alleging its monopolization of the relevant market for virtual currency services

14 using its power in the relevant market for social game networks. Mot. at 9. Quinn Emanuel litigated

15 the case from and through the pleadings phase, fact and expert discovery, summary judgment and

16 Daubert briefing, preparation of pre-trial submissions, and trial preparation. Notably (and among

17 other things), Quinn Emanuel took the deposition of Mark Zuckerberg during the case, after multiple

18 rounds of briefing seeking to compel the deposition. Id. All of these efforts led to significant

19 expertise in Facebook-specific antitrust issues, including market definition, anticompetitive

20 conduct, and anticompetitive effects. Ultimately, the parties resolved the case shortly before trial.

21          Quinn Emanuel’s specific experience and expertise against Facebook—along with Keller

22 Lenkner’s substantial antitrust and class-action experience—has and will continue to significantly

23 benefit the User Class.

24 III.     APPOINTING QUINN EMANUEL AND KELLER LENKNER WILL FURTHER
25          THE STRONG PUBLIC POLICY UNDERPINNING PRIVATE ENFORCEMENT
26          OF THE ANTITRUST LAWS.
27          Quinn Emanuel and Keller Lenkner respectfully submit that appointing our firms as Interim

28 Co-Lead User Class Counsel will not only best serve the User Class—given that our firms developed

                                               -5-                   Case No. 5:20-cv-08570-LHK
                       QUINN EMANUEL AND KELLER LENKNER RESPONSE TO COMPETING APPLICATION
 1 the claims at issue and are therefore uniquely positioned to expeditiously litigate them—but will

 2 also best promote the strong public policy of vigorous private antitrust enforcement. See United

 3 States v. Topco Assocs., Inc., 405 U.S. 596, 610 (1972) (“Antitrust laws in general, and the Sherman

 4 Act in particular, are the Magna Carta of free enterprise. They are as important to the preservation

 5 of economic freedom and our free-enterprise system as the Bill of Rights is to the protection of our

 6 fundamental personal freedoms.”); accord Hawaii v. Standard Oil Co. of Cal., 405 U.S. 251, 266

 7 (1972); see also In re NASDAQ Mkt.-Makers Antitrust Litig., 187 F.R.D. 465, 487–88 (S.D.N.Y.

 8 1998) (“Meritorious class actions . . . promote private enforcement of, and compliance with, the

 9 antitrust laws.”).

10          The mere filing of a “copycat” complaint advances neither the strong public policy

11 underpinning the antitrust laws, nor the interests of the Class. Instead, “copycat complaints . . . are

12 merely entrepreneurial efforts taken by firms attempting to secure lead counsel status.” In re

13 Cendant Corp. Sec. Litig., 404 F.3d 173, 181 (3d Cir. 2005). That is why courts routinely appoint

14 as class counsel those firms with a greater role in developing a case over firms that have simply

15 copied and pasted the work of other firms. See, e.g., In re MF Global Holdings, Ltd., 464 B.R. 619,

16 625 n. 4 (Bankr. S.D.N.Y. 2012) (declining to appoint as lead counsel an applicant who filed a

17 complaint that “appear[ed] to be a nearly word-for-word copy of the complaint” filed by other

18 counsel seeking appointment.); In re iPhone 4S Consumer Litig., 2012 WL 12960637 at *1

19 (appointing counsel in first-filed case where a “comparison of the complaints reveals that the Jones

20 complaint contains strikingly similarl[] allegations to those in the original Fazio complaint.”).

21          To appoint counsel other than Quinn Emanuel and Keller Lenkner would allow lawyers

22 merely filing copycat complaints to “free-ride on the considerable investments made by the drafting

23 attorney” and “reduce the incentive to engage in such activity.” Bruce H. Kobayashi and Larry E.

24 Ribstein, Class Action Lawyers as Lawmakers, 46 Ariz. L. Rev. 733, 752–53 (2004). This is

25 important because “[j]udges are rightly concerned about denying lawyers who uncover wrongdoing

26 the reward of serving as class counsel. Unless lawyers are compensated for time spent inventing

27 liability theories and investigating misconduct, they will be discouraged from doing so.” Charles

28

                                                -6-                   Case No. 5:20-cv-08570-LHK
                        QUINN EMANUEL AND KELLER LENKNER RESPONSE TO COMPETING APPLICATION
 1 Silver, “Class-Actions-Representative Proceedings”, 5 Encyclopedia of Law and Economics, 194,

 2 221 (2000).

 3          Incentivizing attorneys to uncover and pursue wrongdoing is particularly important in

 4 antitrust cases and, in particular, antitrust class actions. Judge Denise L. Cote of the Southern

 5 District of New York, for example, has observed:

 6          [T]here is a public policy that is important in this land to encourage top-tiered
            litigators to pursue challenging cases like this. Antitrust violations go to the heart
 7          of our economy. Our economic health and stability as a nation depend on the rule
            of law and trust in the fairness and transparency of our marketplace.
 8

 9 In re: Credit Default Swaps Antitrust Litig., 13-md-2476-DLC (April 15, 2016), Dkt. No. 563 at 31;

10 accord Alaska Elec. Pension Fund v. Bank of Am. Corp., No. 14-cv-7126-JMF, 2018 WL 6250657,

11 at *1 (S.D.N.Y. Nov. 29, 2018) (“[P]ublic policy favors rewarding the successful prosecution of

12 antitrust claims.”). Appointing Quinn Emanuel and Keller Lenkner as Interim Co-Lead User Class

13 Counsel will continue to incentivize attorneys to investigate, uncover, and pursue antitrust wrongs

14 while discouraging the conduct of those who merely file “copycat” complaints.

15 IV.      KUPCHO COUNSEL’S INSINUATIONS AGAINST QUINN EMANUEL DO NOT
16          IDENTIFY ANY INADEQUACIES AND DEMONSTRATE THAT KUPCHO
17          COUNSEL DOES NOT UNDERSTAND THE CASE THEY COPIED.
18          Kupcho counsel speculates that Quinn Emanuel’s leadership could be “problematic” because
19 other attorneys in that firm represent Google in a data-privacy case currently before this Court.

20 Klein, Dkt. 59 at 19 n.7 (referencing Calhoun et al. v. Google LLC, No. 5:20-cv-05146 (N.D. Cal.)

21 (Koh, J.)). Such unsupported and vague speculation is not a basis to pass over qualified, dedicated

22 counsel for leadership.3 Quinn Emanuel takes its ethical responsibilities to the putative class it seeks

23 to represent as paramount, has no conflict of any kind, and has a record of leadership and results in

24 cases like this one that makes it implausible to suggest Quinn Emanuel would provide anything less

25 than the best possible representation to the User Class.

26

27          3
              1 Newberg on Class Actions, § 3.75 (5th ed.) (“[O]nly client conflicts that are material
   and presently manifest—rather than merely trivial, speculative, or contingent on the occurrence of
28 a future event—will affect the adequacy of class counsel.”).

                                               -7-                   Case No. 5:20-cv-08570-LHK
                       QUINN EMANUEL AND KELLER LENKNER RESPONSE TO COMPETING APPLICATION
 1          More important, however, is that Kupcho counsel’s argument demonstrates their inadequacy

 2 for a lead counsel role because they do not seem to understand the claims they copied from Quinn

 3 Emanuel’s and Keller Lenker’s complaint. This is not a data privacy case; it is an antitrust case

 4 based on a monopolist’s anticompetitive misuse of its users’ data. The antitrust claims against

 5 Facebook that the Klein plaintiffs assert, and therefore that the Kupcho plaintiff asserts, are

 6 predicated on what users lost in the market—in terms of competitive options and competitive

 7 compensation—due to Facebook’s illegal acquisition and maintenance of social media and social

 8 network monopoly power, stemming from its systematic deception of its users in how it would use

 9 their data. In contrast, the Calhoun plaintiffs appear to assert claims predicated on initial access to

10 data, in the context of the Google Chrome web browser.

11          Perhaps because Kupcho counsel have misunderstood the core theory of this case, they also

12 appear to have missed that the Klein Plaintiffs’ case is not adverse to Google, even indirectly. Both

13 the Klein and Kupcho complaints—and, indeed, every User complaint currently before this Court—

14 allege that Facebook’s deception, bolstered by strong network effects and high switching costs,

15 enabled Facebook to obtain and maintain social network and social media monopoly power, which

16 improperly avoided competition from—and thus caused injury to—Google.4 Kupcho counsel

17 adopted this same formulation of the User Class’s harm when they engaged in wholesale copying

18 of the Klein complaint.5 Indeed, the Kupcho complaint expressly details (in allegations copied

19 verbatim from the Klein complaint) how, previously, “Google’s attempt to compete with Facebook

20 [with Google+] failed because it could not attract the critical mass necessary to deliver a viable

21 social network and therefore to overcome the network-based switching costs Facebook enjoyed as

22 a result of its deception.”6 Google is therefore an injured competitor in this antitrust case. And, a

23
            4
                See, e.g., Klein, Dkt. 1, ¶¶ 120, 198; Kupcho, Dkt. 1, ¶¶ 121, 200 (same).
24          5
               Public entities that have since filed their own complaints against Facebook have also
25 agreed with the same formulation: 48 Attorneys General and the Federal Trade Commission assert
   virtually identical theories of harm to competition. See e.g., The State of New York et al v. Facebook,
26 Inc., Case No. 1:20-cv-03589-JEB (D.D.C. Dec. 9, 2020), Dkt. 4 at ¶¶ 95–97; Federal Trade
   Commission, v. Facebook, Inc., Case No. 1:20-cv-03590-JEB (D.D.C. Dec. 9, 2020), Dkt. 3 at ¶¶
27
   65, 161–63.
28         6
              See, e.g., Klein, Dkt. 1, ¶ 120; Kupcho, Dkt. 1, ¶¶ 121 (same).

                                                -8-                   Case No. 5:20-cv-08570-LHK
                        QUINN EMANUEL AND KELLER LENKNER RESPONSE TO COMPETING APPLICATION
 1 case that alleges unilateral acquisition of monopoly power, as this one does, can by definition focus

 2 on only one monopolist, which is Facebook. Any suggestion by counsel in this case that Google

 3 engaged in similar anticompetitive conduct in the same market would not only be incorrect, but

 4 actually would undermine the claims of the User Class.

 5          Kupcho counsel’s failure to appreciate these dynamics is an unfortunate indication that,

 6 despite copying the Klein complaint, they do not fully understand the nature of the claims. Their

 7 argument thus bolsters why the counsel that actually developed the liability and damages theories

 8 at issue (i.e., Quinn Emanuel and Keller Lenkner) are the best to pursue it for the User Class.

 9                                           CONCLUSION
10          For the foregoing reasons, the Klein Plaintiffs respectfully request that the Court appoint

11 Stephen A. Swedlow, Warren Postman, and our respective firms—Quinn Emanuel and Keller

12 Lenkner—as Interim Co-Lead Counsel for the User Class.

13

14     Dated: March 10, 2021                        Respectfully submitted,

15                                                       /s/ Stephen A. Swedlow
     Stephen A. Swedlow (admitted pro hac vice)            Warren Postman (Bar No. 330869)
16     stephenswedlow@quinnemanuel.com                       wdp@kellerlenkner.com
     QUINN EMANUEL URQUHART & SULLIVAN, LLP                Jason Ethridge (admitted pro hac vice)
17   191 N. Wacker Drive, Suite 2700                         jason.ethridge@kellerlenkner.com
     Chicago, IL 60606-1881                                KELLER LENKNER LLC
18   (312) 705-7400                                        1300 I Street, N.W., Suite 400E
                                                           Washington, DC 20005
19   Kevin Y. Teruya (Bar No. 235916)                      (202) 918-1123
       kevinteruya@quinnemanuel.com
20   Adam B. Wolfson (Bar No. 262125)                     Ashley Keller (admitted pro hac vice)
       adamwolfson@quinnemanuel.com                         ack@kellerlenkner.com
21   Brantley I. Pepperman (Bar No. 322057)               Ben Whiting (admitted pro hac vice)
       brantleypepperman@quinnemanuel.com                   ben.whiting@kellerlenkner.com
22   QUINN EMANUEL URQUHART & SULLIVAN, LLP               Jason A. Zweig (admitted pro hac vice )
     865 South Figueroa Street, 10th Floor                  jaz@kellerlenkner.com
23   Los Angeles, CA 90017-2543                           KELLER LENKNER LLC
     (213) 443-3000                                       150 N. Riverside Plaza, Suite 4270
24                                                        Chicago, IL 60606
                                                          (312) 741-5220
25
                                                          Attorneys for the Klein Plaintiffs
26

27

28

                                              -9-                   Case No. 5:20-cv-08570-LHK
                      QUINN EMANUEL AND KELLER LENKNER RESPONSE TO COMPETING APPLICATION
 1                          ATTESTATION OF STEPHEN A. SWEDLOW
 2          This document is being filed through the Electronic Case Filing (ECF) system by attorney

 3 Stephen A. Swedlow. By his signature, Mr. Swedlow attests that he has obtained concurrence in

 4 the filing of this document from each of the attorneys identified on the caption page and in the above

 5 signature block.

 6
            Dated: March 10, 2021                 By   /s/ Stephen A. Swedlow
 7                                                            Stephen A. Swedlow

 8                                   CERTIFICATE OF SERVICE

 9          I hereby certify that on this 10th day of March 2021, I electronically transmitted the
10 foregoing document to the Clerk’s Office using the CM/ECF System, causing the document to be

11 electronically served on all attorneys of record.

12
                                                  By   /s/ Stephen A. Swedlow
13                                                            Stephen A. Swedlow
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                              -10-                   Case No. 5:20-cv-08570-LHK
                       QUINN EMANUEL AND KELLER LENKNER RESPONSE TO COMPETING APPLICATION
